                 Case 1:15-cv-06119-AJN-JLC Document 404-4 Filed 07/19/17 Page 1 of 1
                                              New York
                                              New   YorkCounty
                                                          County  Civil
                                                                Civil   Court
                                                                      Court
                                             Landlord  and
                                             Landlord and   Tenant
                                                          Tenant     Judgment
                                                                 Judgment
Petitioner(s):                                                                             IndexNumber:
                                                                                           Index Number:  LT-063974-14/NY
                                                                                                        LT-063974-14/NY
 MARINERS COVE SITE B ASSOCIATES
                                                                A Petition and Holdover Petition duly verified and proof of
vs.                                                             service having been filed with this court and the issue
                                                                having been decided before Honorable Maria Milin Housing
Respondent(s):                                                  Court Judge on August 10, 2015, a final order is made, after
 GREER,DR. STEVEN                                               hearing in favor of Petitioner: MARINERS COVE SITE B
                                                                ASSOCIATES.

On Motion of: ABRAMSON LAW GROUP, PLLC
               570 LEXINGTON AVENUE 23 FL, NEW YORK, NY 10022

IT IS ADJUDGED:
      ADJUDGED:
That possession of the premises, described in the petition located at 200 RECTOR PLACE 35F, NEW YORK, NY 10280,
said property is further described as: APARTMENT 35F, be awarded to the petitioner(s), along with a monetary judgment in
the amount of $44,135.00 for a total judgment of $44,135.00, without costs.

Petitioner creditor(s) and address(es):
(1) MARINERS COVE SITE B ASSOCIATES

Respondent debtor(s) and address(es):
(1) GREER,DR. STEVEN, at 200 RECTOR PLACE 35F, NEW YORK, NY 10280

IT IS FURTHER
      FURTHERORDERED:
                ORDERED:
That a warrant of eviction shall issue removing all named respondents from the described premises. The Execution of the
Warrant is Stayed per Stipulation/Order.

Date of Decision: 08/10/2015

                                                                                         Honorable Maria Milin
                                                                                         Housing Court Judge

Judgment entered at New York County Civil Court, 111 Centre Street, New York, NY 10013, in the STATE OF NEW YORK
in the total amount of $44,135.00
                       $44,135.00onon 01/29/2016
                                    01/29/2016     at 09:57
                                               at 09:57 AM.AM.

Judgment sequence 1

                                                                          6,041 ,V-t
                                                                         Carol Alt, Chief Clerk
Warrant issued to Marshal                                     on
Section 5020(c) of the Civil Practice Law and Rules requires that a satisfaction be filed with the clerk when the judgment is
satisfied. Failure to do so subjects the judgment creditor to penalties.




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